*Case 2:20-cv-00217-RBS-DEM Document 62 Filed 09/29/20 Page 1 of 8 PagelD# 762

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
Norfolk Division
JTH TAX, LLC, et al.,
Plaintiffs,
Vv. CIVIL NO. 2:20cv217
BABLU SHAHABUDDIN,
Defendant.
MEMORANDUM ORDER

This matter comes before the court on Defendant Bablu
Shahabuddin’s Motion to Enjoin State Court Proceedings (“Motion”)
and Memorandum in Support, filed on August 17, 2020. ECF Nos.
56-57. Plaintiff JTH Tax, LLC d/b/a Liberty Tax Services
(“Liberty”) and SiempreTax+, LLC (“Siempre”) (“the Plaintiffs”)
filed a Memorandum in Opposition on August 31, 2020. ECF No. 58.
The Defendant filed a Reply on September 8, 2020. ECF No. 59. The
Motion has been fully briefed and is ripe for decision.

I. Procedural History

On March 17, 2020, the Plaintiffs filed a Complaint against
Shahabuddin and other Defendants, who have since been dismissed,
in the Southern District of New York. ECF No. 1. On March 23, 2020,
the Plaintiffs filed the First Amended Complaint (“FAC”) against
Shahabuddin and the same defendants, ECF No. 4, and a Motion for
Temporary Restraining Order and Preliminary Injunction, ECF No.

11. The FAC asserts claims against Shahabuddin for Breach of
‘Case 2:20-cv-00217-RBS-DEM Document 62 Filed 09/29/20 Page 2 of 8 PagelD# 763

Contract (Counts One and Two), Breach of Implied Covenant of Good
Faith and Fair Dealing (Count Three), Unjust Enrichment (Count
Four), and requests a preliminary injunction (Count Five). Each
count in the FAC concerns Shahabuddin’s alleged failure to transfer
to the Plaintiffs leases of certain properties in New York and
Shahabuddin’s allegedly fraudulent transfer of those leases to
entities he controls.

On April 29, 2020, the Southern District of New York
transferred the case to this court. ECF No. 35. The same day, the
Plaintiffs filed a new Motion for Temporary Restraining Order and
Preliminary Injunction. ECF No. 37. On August 7, 2020, the court
issued a Memorandum Order that, among other things, denied the
Plaintiffs’ request for preliminary injunctive relief, concluding
that “the Plaintiffs have not demonstrated that they will suffer
irreparable harm absent an injunction.” Id. at 14.

On August 17, 2020, Shahabuddin filed the instant Motion to
Enjoin State Court Proceedings and Memorandum in Support. ECF Nos.
56-57. In the Motion, Shahabuddin asserts that, while the
Plaintiffs’ Motion for Temporary Restraining Order and Preliminary
Injunction was pending before this court, the Plaintiffs filed, in
the Supreme Court of the State of New York, a complaint and a
motion for a preliminary injunction against Shahabuddin and other
defendants (“New York action”). ECF No. 57 at 2. Shahabuddin

attached to his Memorandum in Support a copy of the Verified
: Case 2:20-cv-00217-RBS-DEM Document 62 Filed 09/29/20 Page 3 of 8 PagelD# 764

Complaint filed by the Defendants in state court. ECF No. 57-1.
Shahabuddin asks the court to issue an Order enjoining the state
court from entering a temporary restraining order or a preliminary
injunction in the New York action.
II. Legal Standard

The Anti-Injunction Act, 28 U.S.C. § 2283, provides,

A court of the United States may not grant an injunction

to stay proceedings in a State court except as expressly

authorized by Act of Congress, or where necessary in aid

of its jurisdiction, or to protect or effectuate its

judgments.

The purpose of this statute is to allow state courts to “remain

free from interference by federal courts.” Atl. Coast Line Rail

 

Co. v. Brotherhood of Locomotive Engineers, 398 U.S. 281, 282
(1970) (hereinafter “Atl. Coast”). Thus, the statute’s prohibition
is subject to “three specifically delineated exceptions,” id. at
286, that “are narrow and are not [to] be enlarged by loose

statutory construction,” Chick Kam Choo v. Exxon Corp., 486 U.S.

 

140, 146 (1988).

At issue here is the so-called relitigation exception, which
authorizes the court to issue “an injunction to prevent state
litigation of a claim or issue that was previously presented to
and decided by the federal court.” Smith v. Bayer Corp., 564 U.S.
299, 306 (2011) (quotation marks omitted). The relitigation

exception “is designed to implement ‘well-recognized concepts’ of
‘Case 2:20-cv-00217-RBS-DEM Document 62 Filed 09/29/20 Page 4 of 8 PagelD# 765

claim and issue preclusion.”! Smith, 564 U.S. at 306 (quoting Chick
Kam Choo, 486 U.S. at 147); see Nationwide Mut. Ins. Co. v. Burke,
897 F.2d 734, 737 (4th Cir. 1990) (“The relitigation exception
applies, not only when the federal judgment is claim preclusive
but also when collateral estoppel or issue preclusion applies.”).

Although the relitigation exception applies when the formal
requirements of issue preclusion are met, “the mere fact that the
case falls within one of § 2283's exceptions does not ‘qualify in
any way the principles of equity, comity, and federalism that must
restrain a federal court when asked to enjoin a state court

proceeding.’” Ramsden v. AgriBank, FCB, 214 F.3d 865, 869 (7th Cir.

 

2000) (quoting Mitchum v. Foster, 407 U.S. 225, 243 (1972));

see Chick Kam Choo, 486 U.S. at 151 (“[T]Jhe fact that an injunction

 

may issue under the Anti-Injunction Act does not mean that it must
issue.”); United States v. Purdue Frederick Co., 963 F. Supp. 2d
561, 577-79 (W.D. Va. 2013). Thus, “courts have generally required
that a party seeking a federal injunction of a state proceeding

demonstrate that the injunction is necessary to prevent

 

1 Issue preclusion applies where the proponent demonstrates
“that (1) the issue or fact is identical to the one previously
litigated; (2) the issue or fact was actually resolved in the prior
proceeding; (3) the issue or fact was critical and necessary to
the judgment in the prior proceeding; (4) the judgment in the prior
proceeding is final and valid; and (5) the party to be foreclosed
by the prior resolution of the issue or fact had a full and fair
opportunity to litigate the issue or fact in the prior proceeding.”
In re Microsoft Corp. Antitrust Litig., 355 F.3d 322, 326 (4th Cir.
2004).

 
- Case 2:20-cv-00217-RBS-DEM Document 62 Filed 09/29/20 Page 5 of 8 PagelD# 766

irreparable injury and that no adequate remedy is available at

law.” Purdue Frederick Co., 963 F. Supp. 2d at 577; see also 17A

 

WRIGHT, MILLER, COOPER & AMAR, FEDERAL PRACTICE AND PROCEDURE § 4226 n.29
(3d ed. 2007) (citing cases).
III. Legal Analysis

In the instant matter, it is unnecessary for the court to
determine whether the Plaintiffs are collaterally estopped from
seeking a preliminary injunction in the New York action. Instead,
for the reasons that follow, “principles of equity, comity, and
federalism” lead the court to conclude that it should not enjoin
the state court proceedings. Mitchum, 407 U.S. at 243.

To demonstrate that an injunction should issue pursuant to
the relitigation exception, Shahabuddin bears the burden of
showing that he is entitled to equitable relief. See Ramsden,
214 F.3d at 869. The court is not satisfied, however, that
Shahabuddin will suffer irreparable harm if the court declines to
enjoin the state court proceeding or that Shahabuddin lacks an
adequate remedy in the New York action. For one, Shahabuddin is
free to assert his claim of issue preclusion in state court. See
Restatement (Second) of Judgments § 13 (Am. L. Inst. 1982) (stating
that, for issue preclusion, “‘final judgment’ includes any prior
adjudication of an issue in another action that is determined to
be sufficiently firm to be accorded conclusive effect”). Indeed,

“a court does not usually ‘get to dictate to other courts the
-Case 2:20-cv-00217-RBS-DEM Document 62 Filed 09/29/20 Page 6 of 8 PagelD# 767

preclusion consequences of its own judgment.’” Smith, 564 U.S. at
307 (quoting 18 WricHT, MILLER & COOPER, FEDERAL PRACTICE AND PROCEDURE
§ 4405 (2d ed. 2002)).

There is no reason to deviate from this established principle
in the present matter. Although Shahabuddin represents that the
New York state court has scheduled a show cause hearing on the
Plaintiffs’ motion for a preliminary injunction, see ECF No. 59 at
6-7, this does not mean that he is foreclosed from presenting
evidence pertaining to a preclusion defense at that hearing.
Therefore, the court is not persuaded that it should usurp the
state court’s role in deciding whether the Plaintiffs are
collaterally estopped from seeking a preliminary injunction.
Cf. Kerr-McGee Chemical Corp. v. Hartigan, 816 F.2d 1177, 1182
(7th Cir. 1987) (holding that the district court did not abuse its
discretion in denying a motion under § 2283 where the moving party
could “raise the preemption issue as a defense in the pending state
court suit”).

Moreover, the New York court’s decision on the Plaintiffs’
request for a preliminary injunction will not “so interfer[e] with
[this court’s] consideration or disposition of [the] case as to
seriously impair the federal court’s. flexibility and authority to
decide the case.” Atl. Coast, 398 U.S. at 295 (emphasis added).
Although the state court could conceivably reach a different result

from the one reached by this court on the issue of whether the
- Case 2:20-cv-00217-RBS-DEM Document 62 Filed 09/29/20 Page 7 of 8 PagelD# 768

Plaintiffs are entitled to a preliminary injunction, such a
decision would not impair the court’s ability to decide the
remaining issues in this case going forward. This is not, for
example, a case in which the federal court granted a preliminary
injunction and a state court subsequently issued an order that
conflicted with the federal court’s injunction. Cf. Nat’l
Basketball Ass’n v. Minn. Pro. Basketball, Ltd. P’ship, 56 F.3d
866, 871-72 (8th Cir. 1995); Henry v. First Nat’l Bank of
Clarksdale, 595 F.2d 291, 306-07 (5th Cir. 1979). In such cases,
the federal court is justified in enjoining state court proceedings
that “effectively nullified the effect of the federal judgment.”

Nat’l Basketball Ass'n, 56 F.3d at 872; see Henry, 595 F.2d at

 

306-07.

In contrast, there is no risk here that the state court
decision would, for example, expose Shahabuddin to inconsistent
obligations, see Hartigan, 826 F.2d at 1182, or permit or require
Shahabuddin to do something that this court has forbidden, see

Nat’l Basketball Ass’n, 56 F.3d at 872. Although the court is

 

sympathetic to the fact that Shahabuddin may be forced to litigate
the issue of a preliminary injunction in two different courts,
that fact alone does not give rise to the rare set of circumstances
that warrant a federal court’s intervention in state court

proceedings. See Renegotiation Bd. V. Bannercraft Clothing Co.,
. » Case 2:20-cv-00217-RBS-DEM Document 62 Filed 09/29/20 Page 8 of 8 PagelD# 769

415 U.S. 1, 24 (1974) (“Mere litigation expense, even substantial
and unrecoupable cost, does not constitute irreparable injury.”).
IV. Conclusion

For the reasons stated herein, Shahabuddin’s Motion to Enjoin
State Court Proceedings, ECF No. 56, is DENIED. The Clerk is
DIRECTED to send a copy of this Memorandum Order to counsel of

record for the parties in this case.

IT IS SO ORDERED.
Rebecca Beach Smith

Senior United States District Judge

REBECCA BEACH SMITH
SENIOR UNITED STATES DISTRICT JUDGE

 

September a4 , 2020
